        Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 1 of 19




January 12, 2021


Mr. Brian Mueller, President                                              UPS 2nd Day Delivery
Grand Canyon University                                                   Tracking #: 1Z A87 964 02 9588 2068
3300 West Camelback Road
Phoenix, AZ 85017-3030                                                    Sent via email to: brian.mueller@gcu.edu


Re: Reconsideration Review of the Change in Ownership and
   Conversion to Nonprofit Status of Grand Canyon University
   OPE ID: 00107400

Dear Mr. Mueller:

At your request, the U.S. Department of Education (“Department”), Federal Student Aid has
conducted a reconsideration review of the request of Grand Canyon University, OPE ID
00107400 (“Institution” or “GCU”) to convert to nonprofit status.

Prior to July 1, 2018, GCU was owned and operated by Grand Canyon Education, Inc. (“GCE”),
a Delaware publicly traded corporation. By way of an Asset Purchase Agreement (“APA”),
dated July 1, 2018, GCE sold its School Assets (as set forth in APA at Recital B and as defined
in APA §2.1) to Gazelle University (“Gazelle”), an Arizona nonprofit corporation (“the
Transaction”).

On November 6, 2019, the Department issued a letter setting forth its decision following its post-
closing review of the change in ownership (“CIO”) and requested a change of status from
proprietary to nonprofit. (“Decision”). 1 The Department approved the CIO but denied GCU’s
request to convert to nonprofit status, finding that GCU did not satisfy the Department’s
requirements for a nonprofit institution.

The Decision provides details about the background of the Transaction, the Department’s
requirements for nonprofit status, and a discussion about relevant authority under the Internal
Revenue Code. Those details are not repeated here. In summary, the Department determined


1
  After the Transaction closed, Gazelle changed its name to Grand Canyon University. In documents submitted to the
Department, Gazelle has also been referred to as “GCU” and the “New GCU.” To avoid confusion, the Decision
referred to these parties as “Gazelle” and “GCE,” based on the names used in the introductory paragraph of the APA:
“Gazelle University” (the purchasing entity) and “Grand Canyon Education, Inc.” (the selling entity). The sole
member of Gazelle is Grand Canyon Foundation. This reconsideration letter continues the use of the names as they
were used in the Decision.




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                                         www.FederalStudentAid.ed.gov
                                                     AR-A-0019
           Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 2 of 19

Grand Canyon University
OPE ID: 00107400
Page 2 of 19

that by virtue of the MSA 2 entered into between Gazelle and GCE at the time of the closing of
the Transaction, GCE, not GCU/Gazelle, was the beneficiary of 60% of GCU’s revenues.
Accordingly, GCU did not qualify for nonprofit status for purposes of its participation in Title IV
programs under the Higher Education Act.

Thereafter, GCU sought reconsideration of the Decision. On January 8, 2020, GCU provided the
Department with potential revised terms for the MSA and asked the Department to confirm that the
changes would meet the Department’s requirements for GCU to be recognized as a nonprofit for
purposes of its participation in the Title IV programs. On January 17, 2020, the Department
requested that GCU provide additional documentation about the proposed revision. GCU provided
some responsive materials on May 6, 2020 and the remaining materials on May 12, 2020. As it
conducted its reconsideration review, the Department requested and received additional documents
and information from GCU.

I. THE AMENDED AND RESTATED MASTER SERVICES AGREEMENT

The potential changes to the MSA are set forth in a draft Amended and Restated Master Services
Agreement dated as of January 7, 2020 (“ARMSA”). Although the ARMSA generally tracks the
MSA, there are some notable changes. As set forth in ARMSA Exhibit B, GCE will no longer
provide Curriculum Services or Faculty Operations:

Services Provided (services marked with * are Exclusive Services 3)

    Exhibit B        MSA                                          ARMSA
    § 1*             Marketing                                    Revision: §1.1.3 (alliances with other
                                                                  educational institutions) is deleted
    § 2*             Enrollment Services and Budget               No changes
                     Consideration
    § 3*             Student Support Services                     No changes
                     Counseling
    §4               Document Intake                              No changes
    §5               Student Records Management                   No changes
    §6               Curriculum Services                          Deleted
    §7               Accounting Services                          No changes
    §8               Financial Aid Services                       No changes
    §9               Procurement Services                         No changes
    §10              Audit Services                               No changes
    §11              Human Resources                              No changes
    §12*             Technology                                   No changes

2   Words capitalized herein but not defined have the meaning set forth in the Decision, the APA and/or the MSA.

3 In both the MSA and the ARMSA, GCE is the exclusive provider of certain services, identified in the MSA as

“Exclusive Services,” for which Gazelle agrees it will not contract with any third party absent GCE’s approval
(which is subject to GCE’s sole discretion). MSA §3.1; ARMSA §3.1.




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                                                        AR-A-0020
         Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 3 of 19

Grand Canyon University
OPE ID: 00107400
Page 3 of 19

 §13              Business Analytics Services             No changes
 §14              Faculty Operations                      Deleted
 §15              Compliance Monitoring and Audits        No changes

The parties also agreed that GCE shall always provide at least three services in addition to
Enrollment Services. MSA Exhibit B (introductory paragraph). This has not been changed in
the ARMSA.

Pursuant to MSA §5.1, the Services Fee is determined and paid in accordance with MSA Exhibit
D which provides that Gazelle is required to pay GCE a fee that is equal to 60% of Gazelle’s
Adjusted Gross Revenue (excluding charitable contributions or other gifts used for purposes
other than payment of tuition and fees for students). MSA Exhibit D § 2. Adjusted Gross
Revenue consists of all revenue (net of refunds and scholarships accounted for as a discount to
tuition) received by Gazelle or its Affiliates from the following sources:

   (a)   Tuition (including tuition funded by third party sources and charitable contributions);
   (b)   Fee revenue from students for use of the online communications portal (“the Platform”);
   (c)   Fee revenue from students and their related activities;
   (d)   Fee revenue from students for use of the Canyon Connect learning resources platform;
   (e)   Fee revenue from students for student housing;
   (f)   Fee revenue from students for meal plans and other food services; and
   (g)   Other revenue including revenue from: (i) sales of athletic tickets; (ii) the operation of the
         Grand Canyon University Hotel and Conference Center; (iii) the operation of the
         Maryvale Golf Course; (iv) the operation of the Grand Canyon University Arena; and (v)
         the operation of Canyon Enterprises (apparel sales and other businesses).

MSA Exhibit D §1.

In the Decision, the Department noted that the Services Fee under the MSA was imposed on
revenue generated from sources for which GCE provided no services (e.g., campus housing, food
services, athletic tickets, etc.). Under the ARMSA, instead of a 60% Services Fee on all of the
above listed items, the ARMSA provides for a “Monthly Services Fee” (“Monthly Fee”) which
is 66.8% of Tuition and Fee Revenue (items (a) through (d) above). ARMSA Exhibit D §3(a).
However, for any calendar year in which 59% of Adjusted Gross Revenue (defined as all
categories above) is less than the total of the Monthly Fees paid that year, GCU is entitled to a
credit for that difference, which is deducted from the Monthly Fee(s) for the following year.
ARMSA Exhibit D §3(b). The MSA did not provide any cap on the total amount of the Services
Fee that must be paid to GCE in any year or cumulatively over the years. The ARMSA does not
change that.

The Department also notes some additional items that have been revised in the ARMSA (these
items are not intended to be an exhaustive list of changes):

   •     Revisions to the Non-renewal and Termination Provisions, including the elimination of
         the Non-renewal Fee and reduction of the Termination Fee from 100% to 50%, reduction
         of the time period for Early Termination of the Initial Term, and eliminating the


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                                                 AR-A-0021
        Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 4 of 19

Grand Canyon University
OPE ID: 00107400
Page 4 of 19

         requirement that the Senior Secured Debt be paid in the event of Early Termination.
         ARMSA §§ 6.2 and 6.3 4
    •    GCU has the right to hire a third party to perform Back Office Services Functions (not
         just assume them itself). ARMSA §6.9

II. THE ECONOMIC STUDIES

As discussed in detail in the Decision, in August 2018 (following the closing of the Transaction)
GCU provided the Department with a report prepared by Barclays Capital Inc. (“Barclays
Report”) and a transfer pricing report from Deloitte Tax, LLP (hereinafter “Deloitte 2018 TPR”).
Prior to issuance of the Decision, the Department also received a “follow-on” report from
Barclays (“Barclays Update”). The Decision sets forth the Department’s analysis of these
reports. Of particular concern to the Department was the fact that, as detailed in the Barclay’s
Report, under the planned separation (and as effectuated on July 1, 2018) the costs to operate the
separated GCU increase from $810 Million to $1.496 Billion for fiscal year 2019, solely as a
result of the Service Fees paid to GCE. Barclays Report at 33. 5 As noted above, the revenue
split set forth in the ARMSA is not appreciably different than the revenue split set forth in the
MSA, providing for the lesser of 68.8% of Tuition and Fee Revenue, or 59% of Adjusted Gross
Revenue (which includes Tuition and Fee Revenue). 6

On May 6, 2020, GCU provided an updated transfer pricing report in support of its request for
reconsideration, dated April 29, 2020 and entitled “Transfer Pricing Planning Report” (“Deloitte




4
  The Initial Term of the MSA is 15 years, with automatic renewals thereafter for successive five years terms
apparently in perpetuity. MSA §6.1. This remains the same in the ARMSA. ARMSA §6.1. The ARMSA has,
however, eliminated the Non-Renewal fee. ARMSA §6.2. Gazelle has the right to terminate the ARMSA during
the Initial Term, but it cannot elect do so before the fifth anniversary of the Effective Date (which is appears to be
referring to the Effective Date of the MSA). ARMSA §6.3. If Gazelle exercises that right, it must pay GCE an
Early Termination Fee (50% of the aggregate Services Fees paid or payable for the trailing twelve- month period
just ended). ARMSA §6.3 and MSA Exhibit A at A-3. Thus, Gazelle is locked into the agreement for at least five
years. The ARMSA eliminates the requirement that the Senior Secured note be paid in full as a condition precedent
for early termination.
5
  Although the Barclays Report (dated April 26, 2018) assumed a 65%/35% revenue split on most items, and a
different split on housing (20%/80%), meals (5%/95%) and Canyon Connect (5%/95%), the executed MSA provides
for a straight 60%/40% split and included sources of revenue that are not included in the Barclays Report, including
revenue from Gazelle Arena. As noted in the Decision, these differences would seem to only exacerbate Barclays’
assessment that the separation of the servicing functions from GCI will (and has) resulted in a significant increased
cost for the operation of the Institution, with those increased funds flowing to the benefit of its prior owner, GCE.

6 The Services Fee under the MSA is 60% of Adjusted Gross Revenue. Adjusted Gross Revenue includes the same

items in the ARMSA as are included in the MSA. As described above, the Monthly Fee under the ARMSA is
68.8% of Tuition and Fee Revenue. GCU’s “largest primary component” of revenue is tuition, with online tuition
accounting for “74% to 98% of total revenue.” See “Valuation of the Invested Capital of Grand Canyon
University,” as of January 7, 2020, prepared by BKD CPAs and Advisors, at 7. “The second main revenue
component is other revenue, which consists of fee income, room and board and other less meaningful sources.” Id.




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                                                       AR-A-0022
           Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 5 of 19

Grand Canyon University
OPE ID: 00107400
Page 5 of 19

2020 TPPR”). 7 The Deloitte 2020 TPPR includes another pricing transfer study as Appendix B,
described as “FY 2017 EPS Analysis Grand Canyon University - TP Report August-19-2019 –
Original Analysis” (hereinafter “Deloitte 2019 TPR”). 8 the Deloitte 2020 TPPR refers to the
Deloitte 2019 TPR as the “Original Analysis.” The Department does not adopt the term
“Original Analysis” because use of that term is confusing given the existence of the Deloitte
2018 TPR, 9 which is the report discussed in the Decision. The Deloitte 2018 TPR, the Deloitte
2019 TPR and the Deloitte 2020 TPPR are hereinafter collectively referred to as “the Deloitte
Reports.”

In its May 2020 submissions, GCU also provided three reports prepared by BKD CPAs &
Advisors (“BKD”): a “Valuation of the Invested Capital of Grand Canyon University,” as of
July 1, 2018 (“BKD 2018 Valuation”); a “Valuation of the Invested Capital of Grand Canyon
University,” as of January 7, 2020 (“BKD 2020 Valuation”) 10; and a “Review of a Pricing
Transfer Analysis Prepared By a Third Party with Respect to Provision of Education Services by
Grand Canyon Education, Inc. on Behalf of Grand Canyon University as of December 31, 2018
and December 31, 2019” (“BKD Review”). The BKD Review is a review of the Deloitte 2020
TPPR, which is referred to in the BKD Review as the “Transfer Pricing Study.”

The methodology used in the Deloitte Reports and reviewed by BKD is an “Economic Profit
Split” (“EPS”) analysis. See Decision at 6-9 for a discussion of the EPS analysis performed by
Deloitte. As described in the Deloitte Reports, there are various steps required to perform an
EPS analysis (i.e., identifying the “assets and activities” of the enterprise that generate revenue,
identifying risks associated with the revenue-generating activities and assets; calculating a
consolidated contribution margin; estimating the share of total fixed costs for each entity;
splitting the contribution margin based on the fixed cost share of each entity; recreating an
accounting income statement and determining the revenue split between GCU and GCE).
See Deloitte 2018 TPR at 32 and Deloitte 2020 TPPR at 39.

Although much of the verbiage in the three different Deloitte Reports is the same, the Deloitte
2020 TPPR contains a new discussion about the different methodologies for conducting transfer
pricing studies. See Deloitte 2020 TPPR at 32-38. The EPS used by Deloitte is only one of
several identified methods, as discussed more fully below.




7
  Not surprisingly, GCU has not provided any further analysis from Barclays in support of its request for
reconsideration.

8
 The Deloitte 2019 TPR (Appendix B to the Deloitte 2020 TPPR) was not provided by GCU when it submitted the
Deloitte 2020 TPPR in May 2020. The Department requested and received the Deloitte 2019 TPR in November
2020.

9
    Although the Deloitte 2018 TPR and the Deloitte 2019 TPR are similar, they are not identical.

10
  Given the Decision’s conclusion that the MSA prevented the Department from approving the requested
conversion to nonprofit status, the Decision did not examine whether the purchase price was at fair value and was
not based on a finding that the purchase price for the assets was not at fair value. See Decision at 6 n.11.


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                                                        AR-A-0023
         Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 6 of 19

Grand Canyon University
OPE ID: 00107400
Page 6 of 19

III. THE DEPARTMENT’S REVIEW OF THE DELOITTE TPPR AND THE BKD
REVIEW

The Department has extensively reviewed both the Deloitte 2020 TPPR and the BKD Review. 11
Neither document changes the Department’s conclusion, expressed in its November 6, 2019
letter to GCU, that “the primary purpose of the MSA, and by extension, the Transaction, was to
drive shareholder value for GCE with GCU as its captive client – potentially in perpetuity.”
Decision at 12. Neither the Deloitte 2020 TPPR nor the BKD Review demonstrates that the
Monthly Fee under the ARMSA (based on the lesser of 68.8% of Tuition and Fee Revenue or
59% of GCU’s Adjusted Gross Revenue), potentially in perpetuity, constitutes anything other
than a continuing revenue stream to its former owner GCE, the primary purpose of which is to
drive shareholder value for GCE. 12

Transfer Pricing in General

Transfer pricing assumes that a transaction is between related parties (referred to in the
applicable regulations as “controlled taxpayers,” as discussed below). GCU and GCE have
repeatedly insisted that GCU/Gazelle and GCE are independent of each other. Neither the
Deloitte 2020 TPPR nor the BKD Review acknowledge that GCU/Gazelle and GCE are not
controlled parties and that this is not a controlled transaction. Furthermore, the EPS method
selected by Deloitte assumes that both entities have profits. Gazelle, however, does not. It has
501(c)(3) status under federal regulations and was incorporated as a nonprofit corporation under
state law. Neither Deloitte nor BKD even mention this fact. The analysis used by both assumes
that GCU/Gazelle has profits to contribute to a joint enterprise, but that assumption is erroneous
– there is no joint enterprise – or at least there should not be if GCU is truly independent.

Transfer pricing is an accounting and tax practice that is used to determine whether prices
charged between controlled taxpayers or entities (e.g., two divisions of one corporation or two
subsidiaries of a parent) are fair and at arms-length for tax purposes. Indeed, the Deloitte 2020

11
 This letter includes an extensive discussion of the transfer pricing methodologies used by Deloitte. The
Department also notes the following qualifying language used by Deloitte – these are by way of example only:

     •   “Information and data provided by the Client, the completeness and accuracy of which we did not
         independently verify.” Deloitte 2020 TPPR at 2.
     •   “[w]e have assumed all related party transactions involving the University and its subsidiaries are priced at
         arm’s length.” Id. (not clear to what “subsidiaries” Deloitte is referring).
     •   “For the fixed costs that generate OBSAs, based on the management confirmation, we rely on the estimates
         performed in the Original Analysis, for the lead time and useful lives of these costs to quantify the value of
         OBSAs and their amortization schedule.” Deloitte 2020 TPPR at 4.

12  The Department also notes the inconsistencies in the terminology used by Deloitte and the terminology used in
the ARMSA. For example, the Deloitte 2020 TPPR bases the EPS on a percentage of GCU’s net revenues.
See e.g., Deloitte 2020 TPPR at p. 4 (§1.3(3)(e); p. 10 (§4); p. 43 (§6.2.1.3, Table 7); p.45-46 (§6.3). BKD similarly
states that “[b]ased on its analysis, Deloitte determined an arm’s-length range for the share of revenue as a
percentage of total net revenue . . ..” BKD Review at 14 (emphasis added). In other places, the Deloitte 2020 TPPR
refers to just “revenue.” The ARMSA and Exhibit D thereto refer to “adjusted gross revenue,” not “net revenue” or
“consolidated net revenue.” The ARMSA fee is based on a percentage of “Tuition and Fee Revenue” or “Adjusted
Gross Revenue.” ARMSA at Exhibit D, §3.


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                                                        AR-A-0024
        Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 7 of 19

Grand Canyon University
OPE ID: 00107400
Page 7 of 19

TPPR states at the beginning that the “analysis contained in this report is solely for tax purposes
. . ..” Deloitte 2020 TPPR at 1 (§ 1.1) (emphasis added). “Transfer pricing is an accounting
practice that represents the price that one division in a company charges another division for
goods and services provided. Transfer pricing allows for the establishment of prices for the
goods and services exchanged between a subsidiary, an affiliate, or commonly controlled
companies that are part of the same larger enterprise. Transfer pricing can lead to tax savings for
corporations, though tax authorities may contest their claims.” Shobhit Seth, Transfer Pricing,
Corporate Finance & Accounting (Sept. 9, 2019) (available at
https://www.investopedia.com/terms/t/transfer-pricing.asp). Transfer pricing is an “accounting
and taxation practice that allows for pricing transactions internally within businesses and
between subsidiaries that operate under common control or ownership. The transfer pricing
practice extends to cross-border transactions as well as domestic ones.” Id. Transfer pricing
provides methods by which controlled taxpayers justify to the Internal Revenue Service (or other
taxing authorities) how income and costs are being allocated amongst those taxpayers. Section
482 of the Treasury Regulations (26 C.F.R. § 482 et seq.) “places a controlled taxpayer on a tax
parity with an uncontrolled taxpayer by determining the true taxable income of the controlled
taxpayer.” Treas. Regs. § 1.482-1(a)(1) (emphasis added).

Here, the issue is not whether two controlled parties have properly allocated income and costs
between themselves for tax and accounting purposes. Rather, the issue is whether requiring
GCU to actually pay out to GCE, an independent entity, a substantial share of its revenues (i.e.,
actual money out the door, not just a paper exercise of putting dollars in one column or another
for accounting and tax purposes) for services under the MSA/ARMSA is the type of benefit that
disqualifies GCU from being recognized by the Department as a nonprofit institution.

Treasury Regulations

The Internal Revenue Service has promulgated a complex set of regulations to determine for tax
purposes whether the allocation of income, profit and expenses among related taxpayers is arms-
length. The underlying premise of transfer pricing is that the entities involved are “controlled”
entities. “The purpose of section 482 [Treasury’s transfer pricing regulations] is to ensure that
taxpayers clearly reflect income attributable to controlled transactions and to prevent the
avoidance of taxes with respect to such transactions. Section 482 places a controlled taxpayer on
a tax parity with an uncontrolled taxpayer by determining the true taxable income of the
controlled taxpayer.” Treas. Reg. 1.482-1. The following pertinent definitions apply:

    •   “Controlled” is defined by Treas. Reg. 1.482-1(i)(4) as “any kind of control, direct or
        indirect, whether legally enforceable or not, and however exercisable or exercised,
        including control resulting from the actions of two or more taxpayers acting in concert or
        with a common goal or purpose. It is the reality of the control that is decisive, not its
        form or the mode of its exercise. A presumption of control arises if income or deductions
        have been arbitrarily shifted.”
    •   “Controlled group” is defined by Treas. Reg. 1.482-1(i)(6) means “the taxpayers owned
        or controlled directly or indirectly by the same interests.”
    •   “Controlled taxpayer” is defined by Treas. Reg. 1.482-1(i)(5) as “any one of two or more
        taxpayers owned or controlled directly or indirectly by the same interests, and includes


                                                 7

                                               AR-A-0025
        Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 8 of 19

Grand Canyon University
OPE ID: 00107400
Page 8 of 19

        the taxpayer that owns or controls the other taxpayers. Uncontrolled taxpayer means any
        one of two or more taxpayers not owned or controlled directly or indirectly by the same
        interests.”
    •    “Controlled transaction or controlled transfer” is defined by Treas. Reg. 1.482-1(i)(8)
        defines as “any transaction or transfer between two or more members of the same group
        of controlled taxpayers. The term uncontrolled transaction means any transaction
        between two or more taxpayers that are not members of the same group of controlled
        taxpayers.”
According to GCE’s 2020 10-K, “GCU is a separate non-profit entity under the control of an
independent board of trustees, none of whose members have ever served in a management or
corporate board role at the Company. Accordingly, the Company’s relationship with GCU,
both pursuant to the Master Services Agreement and operationally, is no longer as owner and
operator, but as a third-party service provider to an independent customer.” Feb. 20, 2020 10-K
at 23 (emphasis added). Taking this public pronouncement, as well as the parties’ various
representations to the Department as true, GCU/Gazelle does not control GCE and GCE does not
control GCU/Gazelle.

Neither the Deloitte 2020 TPPR nor the BKD Review address these terms and definitions, much
less explain why transfer pricing is an appropriate tool to evaluate a price being charged between
two supposedly independent entities.

In addition to ignoring that these are not parties subject to common control, the BKD Review
does not establish that the revenue-based pricing scheme is in fact arm’s length nor does it
establish that GCU could not purchase the same or better or more innovative service from other
vendors at a better price. Nor does it address in any meaningful way the fact that given GCU’s
size and the revenue it generates, it would also seem that some of the services could be managed
by GCU itself with the appropriate staff. This is exactly what it did before the two entities were
separated in July 2018.

Nor does the BKD Review in any way address or challenge the conclusion set forth in the
Decision that the revenue sharing arrangement between GCU and GCE precludes GCU from
being recognized as a nonprofit institution for purposes of Title IV programs. While the
Department considers the application of a transfer pricing analysis here to be questionable, it
nevertheless wants to address the conclusions reached by Deloitte and BKD.

Transfer Pricing Methods

The main authorities for methods of transfer pricing used by U.S. companies are the Treasury
Regulations 1.482-1 et seq. and the guidelines issued by the Organization for Economic Co-
Operation and Development (“OECD”). OECD is an international organization that promulgates
guidelines for evaluating transfer pricing in international transactions. The United States is a
party to the OECD Convention and agrees to follow OECD policies/standards for international
transactions. The Transaction at issue is not an international transaction. However, the transfer
pricing method that Deloitte used in this case (the EPS) is a method that comes from OECD and
is not recognized by the Treasury regulations for domestic transactions (and therefore



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                                               AR-A-0026
        Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 9 of 19

Grand Canyon University
OPE ID: 00107400
Page 9 of 19

presumably would constitute an “unspecified method” under the Treasury regulations, as
discussed below). 13

Section 1.482-9 of the Treasury Regulations sets forth the following transfer pricing methods for
determining taxable income in connection with a controlled services transaction: (1) services cost
method; (2) the comparable uncontrolled services price method; (3) the gross services margin
method; (4) the cost of services plus method; (5) the comparable profits method; (6) the profit
split method; and (7) unspecified methods. See Treas. Reg. §1.482-9(a) (listing methods). By
cross-reference to § 1.482-1(c), §1.482-9(a) of the regulations requires that the best method be
used: “Best method rule—(1) In general. The arm's length result of a controlled transaction must
be determined under the method that, under the facts and circumstances, provides the most
reliable measure of an arm's length result.” Treas. Regs. 1.482-1(c) (emphasis added). Thus,
the methods identified in §1.482-9(a) must be applied “in accordance with the provisions of
§1.482-1, including the best method rule of §1.482-1(c), the comparability analysis of §1.482-
1(d), and the arm's length range of §1.482-1(e), except as those provisions are modified in this
section [§1.482-9].”

The BKD Review acknowledges that the taxpayer must demonstrate why the selected method
was chosen and why the alternatives methods were rejected. Neither the Deloitte 2020 TPPR nor
the BKD Review analytically demonstrate that the unspecified method chosen (EPS) is the most
reliable methodology here, nor do they explain in anything more than a perfunctory way why the
other methods were rejected. Notably, the Deloitte 2018 TPR fails to even mention any of the
other methodologies, instead simply adopting the EPS method.

As noted above, the factual predicate for all the transfer pricing methods is that the entities and
taxpayers are “controlled,” a factor that does not exist here. Additionally, the Department notes
that both the Deloitte 2020 TPPR and the BKD Review are, for the most part, superficial.
Neither analyzes the applicable regulations (or the various examples contained therein), in any
depth. Notwithstanding that these are not “controlled” parties and the Department therefore
questions the appropriateness of using a transfer pricing study (especially an “unspecified” one
under the Treasury regulations) to support a request to convert to nonprofit status, the following
provides a summary of the Department’s concerns about the conclusions reached by Deloitte and
BKD as to the specific methodologies:

1. Services Cost Method (“SCM”) - Treas. Reg. § 1.482-9(a)(1), (b)):
The SCM evaluates “whether the amount charged for certain services is arm's length by
reference to the total services costs (as defined in paragraph (j) of this section [1.482-9(b)]) with
no markup.” Treas. Reg. § 1.482-9(b)(1). Deloitte’s “analysis” and rejection of the SCM
method consists of one sentence: “The Education Support Services provided by the GCE to GCU
contribute significantly to the key competitive advantages of the Company. Under Treas. Reg.
Section 1.482-9(b)(4)(vi) (research, development or experimentation type of service
transactions) and Treas. Reg. Section 1.482-9(b)(4)(vii) (engineering or scientific type of service

13
  In fact, the Deloitte 2020 TPPR includes references to an “MNE” without any explanation. See Deloitte 2020
TPPR at 15-17. “MNE” means a “multinational enterprise … A group of associated companies with business
establishments in two or more countries.” OECD Guidelines (2017) at 28.


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                                                     AR-A-0027
         Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 10 of 19

Grand Canyon University
OPE ID: 00107400
Page 10 of 19

transactions) are ineligible for the SCM method and therefore, the SCM cannot be used as the
best method/most reliable method.” Deloitte 2020 TPPR at p.33, §6.1.1.2 (emphasis added).
The BKD Review discusses this conclusion at pages 5 (§II.A.3(a)) and 9 (§II.B.1). Although
the Deloitte 2020 TPPR does not define “Company,” BKD substitutes “GCU” in place of
“Company” in its Review. BKD Review at 9. However, the regulation discusses contributions
to key competitive advantages of the “controlled group” (§1.482-9(b)(5)) which would have to
include both GCU and GCE. As explained at the outset of this discussion, however, GCU and
GCE are not controlled entities and therefore there is no “controlled group,” which begs the
question of whether the services do or do not “contribute significantly to the key advantages” of
a controlled group. Moreover, the BKD Review states “[w]hile the Back Office Support
component of the Education Support Services could potentially be eligible for SCM treatment, it
is not a requirement that the taxpayer elect the SCM method (i.e., it is a voluntary election).”
While it may not be a requirement that a taxpayer elect the SCM method, the taxpayer is
required to explain why SCM is rejected as an alternative method to evaluate services (like back
office support) that are routine and do not contribute significantly to the success or failure of
GCU. Neither Deloitte nor BKD have adequately done so here.

2. Comparable Uncontrolled Services Price Method (“CUSP”) - Treas. Reg. § 1.482-9(a)(2),(c):
The CUSP method evaluates “whether the amount charged in a controlled services transaction is
arm’s length by reference to the amount charged in a comparable uncontrolled services
transaction.” Treas. Regs. § 1.482(c)(1). Deloitte rejected the CUSP method in part because “due
to the specificity of the transaction and the industry, no external CUSP/CUP 14 method analyzing
the transactions between two unrelated parties, is available.” Deloitte 2020 TPPR at p. 33
(§6.1.2.2) (footnote added). BKD agreed. BKD Review at 9-10. However, neither the Deloitte
2020 TPPR nor the BKD Review identified which transactions they reviewed and on what basis
those transactions were not similar. Although “similarity of services rendered, and of the
intangible property (if any) used in performing the services, generally will have the greatest effects
on comparability under this method,” neither BKD nor Deloitte discussed whether or not
“adjustments [could be made] to account for any differences.” Treas. Regs. § 1.482-9(c)(2)(ii)(A).

3. Gross Services Margin Method (“GSMM”)- Treas. Reg. § 1.482-9(a)(3), (d):
The GSMM “evaluates whether the amount charged in a controlled services transaction is arm's
length by reference to the gross profit margin realized in comparable uncontrolled transactions.”
Treas. Regs. §1.482-9(d)(1). Similar to the brevity of its analysis and rejection of the SCM,
Deloitte rejects the GSMM in two sentences: “Neither GCU [n]or GCE provide comparable
services with third parties, and we are unaware of instances where two third parties jointly
provide comparable services in a comparable market. Therefore, we reasonably concluded that
the GSMM/RPM 15 method is not the best method/most reliable method to determine the arm’s
length nature of the Covered Transaction.” Deloitte 2020 TPPR at 34 (§6.1.3.2) (footnote
added). Both Deloitte and BKD fail to acknowledge that the claimed lack of comparability is a
creature of the unique structure of this transaction: taking a fully integrated proprietary

14“CUP” refers to “comparable uncontrolled price” method which is a method used by OECD but not the Treasury
Department for domestic transactions. The OECD methods are discussed further below.

15“RPM” refers to “resale price method” which is a method used by OECD but not the Treasury Department for
domestic transactions.


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                                                    AR-A-0028
       Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 11 of 19

Grand Canyon University
OPE ID: 00107400
Page 11 of 19

institution and separating its academic and campus structure into a nonprofit entity, retaining the
“servicing” functions in the publicly-traded for-profit former owner for which the institution is
the primary, if not only client, and providing services for a fee that is 59.9% of Tuition and Fee
Revenue.

4. Cost of Services Plus Method (“CSPM”) - Treas. Reg. § 1.482-9(a)(4), (e):
The CSPM “evaluates whether the amount charged in a controlled services transaction is arm's
length by reference to the gross services profit markup realized in comparable uncontrolled
transactions.” Treas. Regs. § 1.482-9(e)(1). 16 This method “is ordinarily used in cases where the
controlled service renderer provides the same or similar services to both controlled and
uncontrolled parties.” Treas. Regs. § 1.482-9(e)(1). CSPM “measures an arm's length price by
adding the appropriate gross services profit to the controlled taxpayer's comparable transactional
costs.” Treas. Regs. § 1.482-9(e)(2).

In determining that the CSPM was not applicable, Deloitte states, in part: “No internal CSP/Cost
Plus transactions were identified for Covered Transaction. As stated above, GCE does not
provide similar services to any other third-party entities. An external CSP/Cost Plus approach is
also not available due to lack of sufficient information on similar service transactions involving
third parties in the given industry.” Deloitte 2020 TPPR at p. 34 (§6.1.4.2). Using those
statements as support, BKD agreed with Deloitte. BKD Review at pp. 11-12. However, the
regulations provide: “If possible, the appropriate gross services profit markup should be derived
from comparable uncontrolled transactions of the same taxpayer participating in the controlled
services transaction because similar characteristics are more likely to be found among services
provided by the same service provider than among services provided by other service providers.
In the absence of such services transactions, an appropriate gross services profit markup may
be derived from comparable uncontrolled services transactions of other service providers.”
Treas. Regs. § 1.482-9(e)(3)(ii)(A) (emphasis added). Neither the Deloitte 2020 TPPR nor the
BKD Review address this alternative approach. Nor, as described below, did Deloitte or BKD
seem to make any attempt to identify any companies that provide individual components of the
services provided under the ARMSA.

5. Comparable Profits Method (“CPM”) – Treas. Regs. §1.482-9(a)(5), (f):
The CPM “evaluates whether the amount charged in a controlled transaction is arm's length,
based on objective measures of profitability (profit level indicators) derived from uncontrolled
taxpayers that engage in similar business activities under similar circumstances.” Treas. Regs.
§ 1.482-9(f)(1). Deloitte concluded, and BKD agreed, that CPM is not the best transfer pricing
method. Deloitte 2020 TPPR at 35-36 (§6.1.5.2); 17 BKD Review at 11.


16 Deloitte combines its discussion of the CSPM with a discussion of the Cost Plus Method which is an OECD
method used in “circumstances where semi-finished goods are sold between related parties, where related parties
have concluded joint facility agreements or long-term buy-and-supply arrangements.” Deloitte 2020 TPPR at p. 34
(§6.1.4.1). It is unclear why Deloitte included the discussion of the Cost Plus Method. Not only is the Cost Plus
Method not included in the Treasury Regulations, the ARMSA does not involve the sale of goods.

17 Deloitte also analyzed the OECD’s transactional net margin method (“TNMM”). TNMM is not a method

recognized by the Treasury Department for domestic transactions.


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                                                     AR-A-0029
       Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 12 of 19

Grand Canyon University
OPE ID: 00107400
Page 12 of 19

In agreeing with Deloitte’s conclusion, BKD points to the “highly integrated nature of GCE and
GCU and the non-routine nature of the services being provided by GCE.” BKD Review at 11.
“Routine” and “non-routine” are not terms that are used in the regulatory discussion of the CPM.
BKD defines “routine” service providers as entities that do not hold valuable intangible assets.
BKD Review at p. 11. Although § 1.482-9(f) does not itself refer to valuable intangible assets,
§1.482-5, which it cross-references does: “Consequently, in most cases the tested party will be
the least complex of the controlled taxpayers and will not own valuable intangible property or
unique assets that distinguish it from potential uncontrolled comparables.” Treas. Regs. § 1.482-
5(b)(2)(i)(emphasis added). Thus, contrary to what BKD suggests, holding valuable intangible
property is not disqualifying, it just may not occur “in most cases.” Moreover, as to vertical
integration, the Deloitte 2020 TPPR explains that vertical integration is something that happens
“within the same organization.” Deloitte 2020 TPPR at 13 (§4.1.3) (quoting Joskow, Paul.
Vertical integration, Handbook of New Institutional Economics, Kluwer, 2003). Clearly, GCE
and GCU are not within the same organization. Yet, neither the Deloitte 2020 TPPR nor BKD
Review acknowledges this fact and do not explain why they are discussing a vertically integrated
organization when that is not the pattern here. Moreover, neither Deloitte nor BKD apparently
made any effort to analyze the component parts of the ARMSA (or the MSA) to determine
whether other companies (for which data is available) provide services that can be compared to
the various components of the ARMSA. By way of example only -- companies that provide
institutions with financial aid servicing, or companies that provide marketing or student support
services.

6. Profit Split Method (“PSM”) – Treas. Regs. §1.482-9(a)(6), (g):
The PSM “evaluates whether the allocation of the combined operating profit or loss attributable
to one or more controlled transactions is arm's length by reference to the relative value of each
controlled taxpayer's contribution to that combined operating profit or loss.” Treas. Regs.
§1.482-9(g)(1). There are two types of profit splits – comparable and residual. Treas. Regs.
§1.482-9(g)(1); see also §1.482-6(c). Deloitte rejected the comparable split method because “it
did not identify publicly available information on uncontrolled companies, the transactions and
activities of which are sufficiently comparable to the Covered Transaction. Further, it is highly
unlikely that an arrangement sufficiently comparable to the Covered Transaction can be found.”
the Deloitte 2020 TPPR at p. 36 (§ 6.1.6.3). Again, as noted above, this “lack of comparables”
results from the way this Transaction was structured (separating the academic and servicing
functions) to maintain the continued revenue stream to GCE from GCU’s operations.

BKD’s review of Deloitte’s rejection of PSM consists of block quotes from the Deloitte 2020
TPPR and then just one sentence of “analysis”: “The Preparer rejected both forms of the PSM,
the comparable PSM and the RPSM. Given the lack of comparable profit split transaction
information, Deloitte’s rejection of the comparable PSM is appropriate.” BKD Review at 12.
This is hardly an analysis, and demonstrates the lack of any consideration of whether the
component parts of the services could be examined.

7. Unspecified Method – Treas. Regs. § 1.482-9(a)(7), (h):
Treasury Regulations § 1.482-9(h) provides that “[m]ethods not specified in paragraphs (b)
through (g) of this section [§ 1.482-9] may be used to evaluate whether the amount charged in a
controlled services transaction is arm's length. Any method used under this paragraph (h) must


                                               12

                                              AR-A-0030
      Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 13 of 19

Grand Canyon University
OPE ID: 00107400
Page 13 of 19

be applied in accordance with the provisions of §1.482-1.” The regulation cautions however that
“an unspecified method will not be applied unless it provides the most reliable measure of an
arm's length result under the principles of the best method rule.” Treas. Regs. § 1.482-9(h)
(citing § 1.482-1(c)).

Deloitte determined that the economic profit split (“EPS”), an unspecified method, was the most
reliable transfer pricing method. Deloitte’s analysis of the EPS is based on the OECD’s
guidance because OECD has identified EPS as a transfer pricing method; the Treasury
Regulations have not. Indeed, the Treasury Regulations specifically provide that “the allocation
of profit or loss under the profit split method must be made in accordance with one of the
following allocation methods – (i) the comparable profit split … ; or (ii) the residual profit split
… .” As described immediately above, Deloitte rejected both of these methods for another
“profit split” method – the EPS.

The EPS method (also referred to as the Transactional Profit Split Method):

        . . . first identifies the profits to be split from the controlled transactions—the
        relevant profits—and then splits them between the associated enterprises on an
        economically valid basis that approximates the division of profits that would have
        been agreed at arm’s length. As is the case with all transfer pricing methods, the
        aim is to ensure that profits of the associated enterprises are aligned with the value
        of their contributions and the compensation which would have been agreed in
        comparable transactions between independent enterprises for those contributions.
        The transactional profit split method is particularly useful when the compensation
        to the associated enterprises can be more reliably valued by reference to the
        relative shares of their contributions to the profits arising in relation to the
        transaction(s) than by a more direct estimation of the value of those contributions.

C.1. ¶2.114, OECD Guidelines (2018) (emphasis in original). 18 The OECD explains
further:

        The main strength of the transactional profit split method is that it can offer a
        solution for cases where both parties to a transaction make unique and valuable
        contributions (e.g. contribute unique and valuable intangibles) to the transaction.
        In such a case, independent parties might effectively price the transaction in
        proportion to their respective contributions, making a two-sided method more
        appropriate.




18
   OECD issued comprehensive guidelines in 2017 (referred to herein as “OECD Guidelines (2017)”). In June 2018
OECD issued “Revised Guidance on the Application of the Transactional Profit Split Method” (referred to herein as
(“OECD (2018)”).




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                                                    AR-A-0031
      Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 14 of 19

Grand Canyon University
OPE ID: 00107400
Page 14 of 19

C.2.1. ¶2.119, OECD Guidelines (2018) (emphasis added). Yet Deloitte and BKD have
failed to establish that any of the services provided by GCE are truly unique or valuable 19
or to examine what price independent parties would have put on the services provided
here.

Further, Deloitte and BKD fail to explain why EPS is the most reliable method for
evaluating the revenue sharing fee structure in the ARMSA when (1) there is no
controlled transaction because GCU and GCE are not controlled taxpayers; (2) there are
no profits to split because under Internal Revenue Service (“IRS”) and state authority
Gazelle is a nonprofit entity; and (3) GCU/Gazelle and GCE are not “associated
enterprises.” The MSA is a revenue sharing agreement between two uncontrolled (i.e.,
supposedly independent) parties; it is not a profit splitting allocation between two related
entities. The proposed revised terms for the arrangement, as set forth in the ARMSA, do
not change the fact that most of the revenue being generated by Gazelle/GCU is going
out the door to another entity – GCE – for the benefit of its shareholders. The
Department located no authority, nor have either Deloitte or BKD cited any sources, that
support a profit-splitting transfer pricing method as the correct methodology to evaluate a
transaction in which one of the parties is organized as a nonprofit entity under state law.

EPS is, according to Deloitte, appropriate when, among other factors, the “business operations
are highly integrated such that the contributions of the parties cannot be reliably evaluated in
isolation from each other[.]” Deloitte 2020 TPPR at 16 (§4.1.7). Similarly, Deloitte describes
GCU and GCE as entities “in a corporate group.” Deloitte 2020 TPPR at 38 (§ 6.2). As noted
supra, however, GCU and GCE are represented to the Department as separate, independent
entities – they do not constitute, and are not part of, a “highly integrated” taxpayer and they are
not entities in a “corporate group.” 20 Even more significant is the fact that the EPS is a method
that allocates profits from a controlled transaction to each entity based on their relative
contribution. Deloitte 2020 TPPR at 17-18 (§ 4.1.8). According to Deloitte, GCU and GCE
“should share the profits in a manner proportional to each entity’s relative value contribution.”
Deloitte 2020 TPPR at 38 (§6.1.7). Deloitte “selected the EPS method to recommend an

19 Functions performed or assets used are “’unique and valuable’ in cases where (i) they are not comparable to

contributions made by uncontrolled parties in comparable circumstances, and (ii) they represent a key source of
actual or potential economic benefits in the business operations.” OECD (2018) at 15 (“The Glossary of the
Transfer Pricing Guidelines will be amended to add a definition of ‘Unique and valuable contributions’”). The
Department views the services provided by GCE as garden variety services in higher education. Either typically
performed in-house, or by one or more services providers. Indeed, Deloitte explains that GCE relies on four third
parties to provide the IT platforms, although those platforms are apparently enhanced by GCE (“GCE subscribes or
pays for third-party platforms because it is more efficient for the third-party providers to maintain the systems”).
See Deloitte 2020 TPPR at 23. Deloitte notes that GCE employs “roughly 14” people to support one of the
platforms. There is absolutely no examination of why these functions cannot be performed by GCU employees, as
they certainly were before the July 1, 2018 CIO which resulted in two entities – Gazelle and GCU.

20Although both Deloitte and BKD use the term “corporate group” in their respective documents, neither document
defines the term. The term does not appear in either the relevant Treasury regulations or OECD’s guidelines. The
Department assumes that Deloitte means a group of entities that are either within a parent/subsidiary or
brother/sister corporate chain. GCU and GCE do not share such an organizational relationship and the Department
does not consider them part of a “corporate group.”




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                                                     AR-A-0032
       Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 15 of 19

Grand Canyon University
OPE ID: 00107400
Page 15 of 19

appropriate range with respect to the allocation of overall profits between GCU and GCE,” and
explains that the steps in the EPS method are intended “to arrive at an eventual allocation of
profits to each entity in the corporate group based on their relative contribution.” Deloitte 2020
TPPR at 38 (§§6.1.8, 6.2). 21 The Deloitte 2020 TPPR does not explain why it is appropriate to
“allocate profits” between two independent, unrelated, uncontrolled taxpayers, one of which is
for-profit and the other of which is organized as a nonprofit.

Indeed, Deloitte notes that “at arm’s length, each party to a transaction optimize their own
value.” Deloitte 2020 TPPR at 14. That is what should govern the relationship between GCU
and GCE. Contrary to how parties work at arm’s length, Deloitte explains that “companies by
definition optimize value of the group as a whole.” Id. There is no singular “company here” nor
is there a “corporate group.” GCE and GCU are not controlled taxpayers; there is no controlled
transaction; and there are no profits to split – GCU is a tax-exempt entity and is organized as a
nonprofit entity under state law. Neither the Deloitte 2020 TPPR nor the BKD Review address
these factors. In fact, in agreeing with Deloitte’s selection of the EPS method, BKD simply
block-quoted from the Deloitte 2020 TPPR and then concluded, “[g]iven that both GCU and
GCE make significant contributions to the creation of intangible assets and the lack of
comparable transactions/comparable companies, a profit split-based method appears to be
reasonable in this instance.” BKD Review at 13. 22 With respect to the profit factor, if GCU
wants to stand by Deloitte’s and BKD’s characterization of it as earning profits that can be
“split,” then it seems to be acknowledging that it operates as a for-profit.

The common thread running through both the Deloitte 2020 TPPR and the BKD Review transfer
pricing analysis is that “no comparables” exist. Yet the OECD defines47 transactions as
“comparable if none of the differences between the transactions could materially affect the factor
being examined in the methodology (e.g., price or margin), or if reasonably accurate adjustments
can be made to eliminate the material effects of any such differences.” OECD Guidelines (2017)
at 24. OECD’s revised guidance on the transactional profit split method further explains:

21 The “steps” identified by Deloitte principally focus on the risk of fixed costs, defined as costs that do not vary

with the quantity of services provided. Deloitte 2018 TPR at 1, 33-35; Deloitte 2020 TPPR at 1, 39-44. Deloitte
claims that the party assuming fixed costs assumes greater risk justifying a greater share of profits. Deloitte 2018
TPR at 5; Deloitte 2020 TPPR at 10-11. Deloitte apparently determined which costs associated with the seven
revenue-generating activities were fixed costs and what share of fixed costs Gazelle and GCE were contractually
obligated to pay. Deloitte 2018 TPR at 33; Deloitte 2020 TPPR at 44 (and Appendix C at 11 and Appendix D at 11).
The Deloitte 2020 TPPR (as did the Deloitte 2018 TPR) also appears to give significant weight in its determination
of fixed costs to its consideration of off-balance sheet assets (“OBSA”). Deloitte states that it considered historic
trial balance sheet financial data to “capture any fixed costs incurred in the past accounting period that are tied to the
revenue generated in FY 2018 and FY 2019. These are the costs that contribute to the generation of OBSAs.”
Deloitte 2020 TPPS at 39; see also Deloitte 2018 TPR at 32. As noted previously in the Decision, because all of
those earlier costs were incurred during the years prior to the separation, Deloitte’s calculation of fixed costs gives
GCE – and not GCU – the benefit of those historical costs that were incurred before the services function was
separated on July 1, 2018. Indeed, Deloitte divides the OBSAs into three categories: marketing; technology
development; and executive strategy and explains: “further refinement of these OBSAs is not as reliable due to the
interrelated nature of GCE’s business model.” Deloitte 2020 TPPR at 39-40.

22 Although BKD more thoroughly recounted how Deloitte applied each step of the method (e.g., how it identified
economic risks), it failed to analyze the appropriateness of selecting the EPS method in the first place.




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                                                        AR-A-0033
      Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 16 of 19

Grand Canyon University
OPE ID: 00107400
Page 16 of 19


       In general, it will tend to be the case that the presence of factors indicating that a
       transactional profit split is the most appropriate method will correspond to an absence of
       factors indicating that an alternative transfer pricing method—one which relies entirely
       on comparables—is the most appropriate method, determined in accordance with
       paragraph 2.2 of these Guidelines. Put another way, if information on reliable
       comparable uncontrolled transactions is available to price the transaction in its
       entirety, it is less likely that the transactional profit split method will be the most
       appropriate method. However, a lack of comparables alone is insufficient to warrant
       the use of a transactional profit split. See paragraph 2.128.

C.2.3 ¶2.143, OECD Guidelines (2018) (emphasis added). Paragraph 2.128 states:

       A lack of closely comparable, uncontrolled transactions which would otherwise be used
       to benchmark an arm’s length return for the party performing the less complex functions
       should not per se lead to a conclusion that the transactional profit split is the most
       appropriate method. Depending on the facts of the case, an appropriate method using
       uncontrolled transactions that are sufficiently comparable, but not identical to the
       controlled transaction is likely to be more reliable than an inappropriate use of the
       transactional profit split method. …

C.2.2. ¶2.128, OECD Guidelines (2018) (emphasis added). Paragraph 2.129 cautions: “if
independent parties engaged in comparable transactions are found to make use of other pricing
methods, this should also be taken into account in determining the most appropriate transfer
pricing method.” C.2.2. ¶2.129, OECD Guidelines (2018). None of these additional provisions
of the OECD Guidelines were discussed by either Deloitte or BKD.

BKD states that it reviewed 24 agreements between service providers and higher educational
institutions and that of those, ten agreements used a revenue-sharing fee structure. According to
BKD, the percentage of revenues used in those agreements ranged from 12.5% to 80%, with an
interquartile range of 45.9% to 62.4%, with a median of 50.0%. BKD Review at16. BKD then
states:

       We note that the Preparer’s concluded TY 2018 range of revenue split in the
       Transfer Pricing Study of 60.22% to 60.71% falls within the interquartile range of
       the ten agreements. Further, we note that the Preparer’s concluded TY 2019 range
       of revenue split to the renderer of the services in the Transfer Pricing Study of
       59.32% to 59.72% also falls within the interquartile range of the agreements.
       Accordingly, the Preparer’s concluded results for TY 2018 and TY 2019 in the
       Transfer Pricing Study do not appear unreasonable.

BKD Review at 16. BKD’s analysis is striking for what it does not address. For
example, what is the relationship between the institution and the service provider – were
they formerly one and the same? Why is it reasonable to charge GCU a fee equal to
59.9% - 68.8% of revenues (as described in ARMSA Exhibit D §3) when the range of the




                                               16

                                              AR-A-0034
        Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 17 of 19

Grand Canyon University
OPE ID: 00107400
Page 17 of 19

ten agreements BKD cites included a low of 12%? 23 Why is it reasonable to charge GCU
that fee when the median of the ten agreements reviewed is 50%? Does the increase over
the low of 12% or the median of 50% indicate the purpose of the ARMSA is to benefit
GCE stockholders?

And what are the fee structures in the remaining 14 agreements? Why were those fee
structures not analyzed as alternatives to the revenue sharing fee used in the ARMSA?
The failure to do so is especially concerning, given that GCE has very recently advised its
shareholders and the public that “[i]n recent years, an alternative unbundled fee-for-
service model has emerged, in which the companies offer the same services, or some
subset of services, for the market price of those services.” 8/28/20 GCE 8-K at 9
(emphasis added). Neither the Deloitte 2020 TPPR nor the BKD Review reflect any
examination of such alternative models – nor did they appear to analyze unbundled
services to compare them to the components of the services provided under the ARMSA.

IV. THE DEPARTMENT’S RECONSIDERATION DETERMINATION

In both its initial request for nonprofit status and in its request for reconsideration of the
Decision, GCU has pointed to the fact that Gazelle is an Arizona nonprofit corporation, the IRS
granted Gazelle tax-exempt status and GCU’s accreditor (the Higher Learning Commission
(“HLC”)) has approved nonprofit status. However, unlike the IRS’s initial grant of tax-exempt
status and state organization as a nonprofit, the Department’s determination of nonprofit status
considers the structure and planned operations of the institution when its owner(s) apply for that
change of status, and seeks to ensure that a nonprofit institution’s revenues – a good portion of
which are generated from Title IV funds – are primarily devoted to the mission of the school and
not to other parties, including (as here) the prior owner and its shareholders. The Department
makes its own determination regarding nonprofit status, and the fact that HLC may have reached
a different conclusion is neither binding nor persuasive.

Although the revenue sharing percentages have changed somewhat under the ARMSA, the basic
structure whereby a substantial portion of GCU’s revenues benefits GCE remains unchanged.
Based on the tax authority cited in the Decision, the Department has determined that, under the
ARMSA, GCU will still not meet the requirement that both the primary activities of the
organization and its stream of revenue benefit the nonprofit itself. The Deloitte 2020 TPPR and
the BKD Review have not convinced the Department otherwise.

GCU has repeatedly tried to convince the Department that it should be granted nonprofit status
because of GCU’s positive accomplishments on campus and in the community. Although those

23
   Deloitte recognizes that curriculum is “the heart of any learning institution.” (Deloitte 2018 TPR at 26, Deloitte
2020 TPPR at 27). However, as noted above, Curriculum Services and Faculty Operations services have been
eliminated from the ARMSA, and therefore, the risks related to curriculum and faculty are primarily borne by GCU.
Deloitte 2020 TPPR at 27. Presumably, both a strong curriculum and talented faculty – the risks and costs of which
are borne by GCU -- are primary drivers of enrollment, and thereby, GCU’s revenue. Yet, the Monthly Fee payable
to GCE under the ARMSA is 68.8% of Tuition and Fee Revenue (or 59% of Adjusted Gross Revenue). Deloitte and
BKD do not discuss why the revenue sharing percentages were not significantly reduced given this change in risk
and responsibility.


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                                                       AR-A-0035
        Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 18 of 19

Grand Canyon University
OPE ID: 00107400
Page 18 of 19

activities are worthwhile and commendable, they are not remarkable for an institution of higher
education – whether proprietary, nonprofit, or public. And they do not change the Department’s
conclusion that the arrangement between GCU and GCE under the ARMSA precludes approval
of GCU’s request to convert to nonprofit status.

Beyond the continuing revenue stream to GCE, the Decision also noted your (Brian Mueller’s)
dual roles as a concerning factor. You remain the President of GCU and the Chief Executive
Officer of GCE. You are also Chairman of GCE’s board. In a Memorandum to the Board of
Directors of GCE from the Board of Directors of GCU (updated as of January 7, 2020), GCU’s
Board stated, “[g]iven President Mueller’s critical importance to the ongoing operations of the
University, we are not willing to concede this point and we intend to reiterate our insistence to
the Department that President Mueller retain his position as President of the University.”
Although the Department is not directing GCU to remove you as President of the University,
your multiple roles continue to be of concern to the Department. Of course, nothing would
prevent you from severing ties with GCE if you (and the GCU Board) thought it was more
important for you to stay with GCU instead of serving in two potentially conflicting positions.
As the Decision explained regarding your dual role of running both GCU and GCE (and as one
of GCE’s shareholders):

        [A]s the CEO of GCE, [Mr. Mueller] is the key executive responsible for providing the
        services under the MSA, with duties of loyalty to shareholders of GCE. Yet, as the
        Institution’s President he will have responsibility to manage matters large and small with
        its primary service provider, notwithstanding the appointment of a Designee and the
        independent trustees who comprise the MSA Committee. Given those obviously
        conflicting loyalties, and the breadth of the services provided under the MSA, the
        Department is not satisfied that these structures are sufficient to ensure that Mr. Mueller’s
        undivided loyalty is to the Institution.

Decision at 15. The Decision also noted the Department’s skepticism that any nonprofit could
outsource the number and type of institutional functions that Gazelle has and still be deemed to
operate the Institution. Curriculum Services and Faculty Operations have now been transferred
to GCU. Given the Department’s conclusion in this reconsideration determination that the
continued revenue stream under the ARMSA (if executed) would prevent the Department from
approving GCU’s requested conversion to nonprofit status, there is no need for the Department
to re-examine this issue. 24

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   Given the Department’s conclusion that the continuing revenue stream to GCE (whether under the MSA or the
ARMSA) prevents the Department from approving the requested conversion to nonprofit status, this reconsideration
determination is not based on an examination of the purchase price valuation. The BKD 2018 Valuation and the
BKD 2020 Valuation conclude that the range of value for the purchased assets was between $1,100,000,000 to
$1,400,000,000 which exceeded the purchase price of $877,459,000. However, as noted in the Decision, at a GCE
board meeting immediately prior to the closing of the Transaction, Mr. Bachus (GCE Chief Financial Officer)
explained that “[w]hile the purchase price for the assets will be at book value, which approximates fair value based
on the appraisals received … it was expected that Gazelle would seek a new appraisal post-closing on certain assets
including the land being sold. To the extent the new appraisal showed a higher fair value for those assets, [GCE]
would not get the benefit from that.” GCE June 28, 2018 Board Minutes at 1. However, Mr. Bachus further
explained that “a higher fair value, and a resulting margin between fair value and book value, benefitted Gazelle in




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                                                       AR-A-0036
          Case 2:21-cv-00177-SRB Document 59-3 Filed 05/16/22 Page 19 of 19

Grand Canyon University
OPE ID: 00107400
Page 19 of 19

V. CONCLUSION

For the reasons discussed above, GCU does not satisfy the Department’s definition of a
nonprofit. Accordingly, the Department rejects GCU’s request to reconsider the Department’s
decision denying GCU’s request to convert to nonprofit status.

As explained in the Decision, GCU’s status as a proprietary institution is for purposes of its
participation in the Title IV, HEA programs. The Department does not take a position with
respect to Gazelle’s non-profit 501(c)(3) status with the Internal Revenue Service. However,
GCU/Gazelle must not engage in any advertising or other communications that refer to GCU as a
“nonprofit.” Such statements are confusing to students and the public, who may interpret such
statements to mean that the Department has approved GCU as a nonprofit under its regulations.
The Department does not take a position regarding statements that GCU or Gazelle may make
about Gazelle’s status as a 501(c)(3) tax exempt organization.

The PPPA under which the Institution has been operating since November 14, 2019 continued
the prior approval for GCU to participate under a proprietary status. The proprietary status for
GCU’s continued participation is therefore unchanged. GCU is reminded that it must meet the
Title IV, HEA programs reporting and program eligibility requirements applicable to for-profit
institutions, including the 90/10 eligibility requirements described in 34 C.F.R. §668.28.

                                                     Sincerely,



                                                     Martina Fernandez-Rosario, Director
                                                     School Eligibility and Oversight Service Group

cc: The Higher Learning Commission (email: Barbara Gellman-Danley, President -
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connection with its composite score.” Id. Although no details are provided, Mr. Bachus apparently further explained
“why a good composite score for Gazelle ultimately benefited the Company [i.e., GCE].” Id. at 1-2.




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                                                       AR-A-0037
